Case 2:04-cr-20100-.]PI\/| Document 178 Filed 04/25/05 Page 1 of 2 Page|D 255

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IN THE UNITED sTATEs nIs'rRIcT coUR'r
FoR THE wEsTERN nrs-rlach oF TENNESSEE
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W.D. O§: TN, M?.'.N§PHIS

UNITED STATES OF AMERICA
Plaintiff,
VS CR. NO. 2:O4CR20100-04-Ml

ARMARIO DOUGLAS

Defendant.

 

ORDER ON JURY VERDICT

 

This cause came on for trial on April 18, 2005, the United States Attorney
for this District, Stephen Parker, representing the Government, and the
defendant, Armario Douglas, appearing in.person and with counsel, Michael Scholl.

Jurors were selected and sworn. After listening to opening statements, all
of the proof, closing arguments and jury charge, the jurors were excused to begin
deliberation.

After due deliberation, the jury returned in open court on April 22, 2005,
and announced a verdict of NGT GUILTY as to ALL COUNTS of the Indictment.

Jurors were polled individually.

EN'I'ERED this the ézday of April, 2005.

JWL@QQ

J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

This document entered on the dockets set fn compliance
with Ru|e 55 and/or 32(b) FRCrF' on ' ”CLD /

   

UNITED `SATESDTISRICT COUR - WTERN D'S'TRCT OFTENNESSEE

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Honorable Jon McCalla
US DISTRICT COURT

